        Case 1:12-cr-00068-CG-C                       Doc# 487           Filed 05/21/15            Page 1 of 1               PageID# 2063
$2 5HY $/6'2UGHU5HJDUGLQJ0RWLRQIRU6HQWHQFH5HGXFWLRQ3XUVXDQWWR86& F      3DJHRI 3DJH1RWIRU3XEOLF'LVFORVXUH


                                      81,7('67$7(6',675,&7&2857
                                                                        IRUWKH
                                                       Southern District of Alabama
                                                      BBBBBBBBBB'LVWULFWRIBBBBBBBBBB

                    8QLWHG6WDWHVRI$PHULFD
                               Y
                   CLIFTON FIDELE HEARD                                         &DVH1R       12-00068-010
                                                                                8601R 12622-003
'DWHRI2ULJLQDO-XGJPHQW                            01-23-2013
'DWHRI3UHYLRXV$PHQGHG-XGJPHQW                                              Pro Se
(Use Date of Last Amended Judgment if Any)                                      Defendant’s Attorney


                  ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                           PURSUANT TO 18 U.S.C. § 3582(c)(2)
        8SRQPRWLRQRI u   ✔  WKHGHIHQGDQW u WKH'LUHFWRURIWKH%XUHDXRI3ULVRQV u WKHFRXUWXQGHU86&
 F  IRUDUHGXFWLRQLQWKHWHUPRILPSULVRQPHQWLPSRVHGEDVHGRQDJXLGHOLQHVHQWHQFLQJUDQJHWKDWKDV
VXEVHTXHQWO\EHHQORZHUHGDQGPDGHUHWURDFWLYHE\WKH8QLWHG6WDWHV6HQWHQFLQJ&RPPLVVLRQSXUVXDQWWR86&
 X DQGKDYLQJFRQVLGHUHGVXFKPRWLRQDQGWDNLQJLQWRDFFRXQWWKHSROLF\VWDWHPHQWVHWIRUWKDW866*%
DQGWKHVHQWHQFLQJIDFWRUVVHWIRUWKLQ86& D WRWKHH[WHQWWKDWWKH\DUHDSSOLFDEOH
IT IS ORDEREDWKDWWKHPRWLRQLV
           u '(1,(' u✔ *5$17('DQGWKHGHIHQGDQW¶VSUHYLRXVO\LPSRVHGVHQWHQFHRILPSULVRQPHQW(as reflected in
the last judgment issued)RI      121            PRQWKVis reduced to           120 months                 

                                             (Complete Parts I and II of Page 2 when motion is granted)


ADDITIONAL COMMENTS




([FHSWDVRWKHUZLVHSURYLGHGDOOSURYLVLRQVRIWKHMXGJPHQWGDWHG                          01-23-2013          VKDOOUHPDLQLQHIIHFW
IT IS SO ORDERED                                                                                            Digitally signed by Callie V.S. Granade U.S. District
                                                                   Callie V.S. Granade                       Judge
                                                                                                             DN: cn=Callie V.S. Granade U.S. District Judge, o=U.S.
                                                                                                             Government, ou=Federal Judiciary,
2UGHU'DWH                  05-21-2015
                                                                   U.S. District Judge
                                                                                    Judge’s signature
                                                                                                             email=efile_granade@alsd.uscourts.gov, c=US
                                                                                                             Date: 2015.05.18 13:55:08 -06'00'



(IIHFWLYH'DWH              11-01-2015                                                      United States District Judge
                     (if different from order date)                                                Printed name and title
